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          EXHIBIT A-3
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February 25, 2019

Alexandra Connell
151 Bartlett Street
San Francisco, CA 94110

Hon. Elizabeth Wolford
Kenneth B. Keating Federal Building
100 State Street
Rochester, New York 14614

Dear Judge Wolford:

I have known Alexander Green for three and a half years, and we dated for two and a half years
of that time. We remain close and speak frequently.

I would not have been able to become a CEO and founder without Alex. As a close friend and
confidante, Alex is and always has been, a crucial piece of my ability to go out on my own and
build the life that I now have. I am forever indebted to him, and it was important to me to write
this letter in the hopes that he would not be just another name on the docket for you. I know
that Alex has made mistakes, but also that he has done so much good for others and can do so
much more. When I sat down to think about the example Alex has set in my life and the kind of
person he is, the top three things that came to mind were his kindness, generosity and
resilience.

Kindness. Alex is the rare person that always makes you feel safe and protected. With Alex it’s
okay to be scared or vulnerable or weak. He never makes you feel ashamed or regret your
honesty the next day. He is not stingy with hugs, or kind words. I often referred to Symmetry
Labs as “Alex Green’s Home for Wayward Boys”, since so many of Alex’s employees are
hometown friends who have struggled to make it past high school. Alex has provided jobs,
homes and endless chances to them for years. Alex always sees the best in people and gives
them the benefit of the doubt. One employee,              struggled with alcohol addiction for
years, and Alex gave him many chances and even helped pay for rehab so that                 could
eventually get clean and reach his potential in life and with Symmetry.

Generosity. Alex is the most generous person I’ve ever met, without a doubt. When I was
starting my business I went for multiple years without a salary and Alex helped me financially
whenever I needed it, even though he never had a lot himself. He also often took on mortgage
payments for his mother when she could not make them, enabling her to keep her house. He
bought ‘art’ from friends so that they could feel pride in taking money that they desperately
needed, and he never brought it up again or ever mentioned repayment. Another employee of
Alex’s,        had a father who was dying of cancer and needed           to help take care of him
back in NY. After        stopped working, Alex still kept him on payroll so he could afford to live
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while he took care of his father. Alex has always shown empathy and mercy to everyone in his
life, and so I ask for you to show it to him here.

Resilience. Alex has endured the monumental stresses of this case, the shutting down of his
first business, and the rebuilding of a completely new business while out on bail with incredible
poise and fortitude. He does not complain and he does not hold grudges. I remember being
woken up by a number of midnight calls from people in Alex’s network who were feeling on the
verge of suicide. Alex was always the person who would go to their house at 2am to bring soup
and talk them out of the current moment, giving them strength to wait until the morning. Alex’s
resilience inspires others, myself included. A few years back when              had his first
major break from schizophrenia, Alex flew to Los Angeles with me to deal with the police,
hospital paperwork and the 5150 treatment situation. It was exhausting and emotional and
difficult to process such a chaotic experience, but having Alex by my side made it bearable and
helped me and my family pull through.

I know that given another opportunity, Alex would make good on a brilliant life of laughter,
sharing, and peace. I very much appreciate your time and consideration in reading this letter,
and I ask for your leniency towards Alex.

Respectfully,
Alexandra Connell
